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 4   Telephone: (916) 554-2790
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 7
 8                     IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,            )    CASE NO.   2:96-CR-0350-13 WBS
                                          )
12                   Plaintiff,           )    GOVERNMENT’S MOTION TO DISMISS
                                          )    SPECIFIC COUNTS OF THE
13        v.                              )    SUPERSEDING INDICTMENT AND
                                          )    [PROPOSED] ORDER DISMISSING
14   LIZHEN CHEN,                         )    SPECIFIC COUNTS OF THE
                                          )    SUPERSEDING INDICTMENT
15                   Defendant.           )
                                          )
16                                        )
17
18        Pursuant to Rule 48(a) of the Federal Rules of Criminal
19   Procedure, the United States, by and through its undersigned attorney,
20   hereby files this motion and proposed order dismissing specific counts
21   of the Superseding Indictment against defendant LIZHEN CHEN.
22        Defendant is charged by the Superseding Indictment in this case
23   with: Count 39 and Count 87, in violation of Title 18, United States
24   Code, Section 1956(h)- conspiracy to launder monetary instruments;
25   Count 49, Count 52, Count 53 and Count 54, in violation of Title 18,
26   United States Code, Section 1956(a)(1)(B)(i)- laundering of monetary
27   instruments; Count 59, Count 61, Count 62 and Count 63, in violation
28   of Title 18, United States Code, Section 1957(a) - engaging in

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 1   monetary transactions in property derived from specified unlawful
 2   activity;   Count 101, in violation of Title 18, United States Code,
 3   Section 371 - conspiracy to submit false loan application;            and Count
 4   103, in violation of Title 18, United States Code, Section 1014 -
 5   false loan application.
 6        In the interest of justice, and as a part of the resolution of
 7   co-defendant Mady Chan’s case, the government therefore requests
 8   that the Court dismiss these specific counts in the Superseding
 9   Indictment in this case.
10   DATED: February 28, 2012
11                                    BENJAMIN B. WAGNER
                                      United States Attorney
12
13                              By:   /s/ William S. Wong
                                      WILLIAM WONG
14                                    Assistant U.S. Attorney
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 1                                         ORDER
 2
 3       The Government’s request to dismiss the specific counts in the
 4   Superseding Indictment is APPROVED AND SO ORDERED.
 5   DATE:       February 28, 2012
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